Filed 11/07/22                                          Case 16-27672                                  Doc 896




                                           UNITED STATES BANKRUPTCY COURT
                                            EASTERN DISTRICT OF CALIFORNIA


           In re:                                           )
           David Kenneth Lind                               )           Case No. 16-27672
                                                            )
                                                            )
                                                            )
                                               Debtor(s).   )

                                         ORDER FOR PAYMENT OF UNCLAIMED FUNDS

                   This matter comes before the Court pursuant to 11 U.S.C. §347(a), 28 U.S.C.
                                            David Kenneth Lind
           §2042, and the application of _______________________________________,            seeking
                                                       David Kenneth Lind
           payment of funds previously unclaimed by ____________________________________
           (creditor/claimant’s name) in the above-entitled case. It appears from the application
           and supporting documentation that _________________________________________
                                                 David Kenneth Lind
           is entitled to the funds paid into Court.

           Therefore,

                 IT IS ORDERED that the Clerk is directed to pay $____________________
                                                                   63,688.38           from
           the __________________________________________
                Unclaimed Funds                                   to:

                    David Kenneth Lind
                    4258 W Sargent Rd
                    Lodi, CA 95242




                  The funds may be disbursed only after 14 calendar days from the entry of this
           court’s order to allow for the appeal period to pass.

           DATED:

                              November 07, 2022
                                                            ____________________________________
                                                            UNITED STATES BANKRUPTCY JUDGE
           EDC 6-950 (Revised 9/25/19)
